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                 IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISON
_______________________________________
In re:                                  )
13111 WESTHEIMER, LLC                   )    Case No. 23-34448 (EVR)
            Debtor.                     )    Chapter 11
_______________________________________ )

                                 NOTICE OF APPEARANCE

        The undersigned attorneys enter their appearance in this case on behalf of creditor Stellar
Bank and request copies of notices motions pleadings and other matters in this case and requests
that same be served upon the undersigned attorneys by any of the following methods: the
Bankruptcy Court’s CM/ECF system, or email, or regular mail.

                                              ROSS, BANKS, MAY, CRON & CAVIN, P.C.

                                              By:
                                              John Mayer
                                              Texas Bar Number 13274500
                                              Southern District ID Number 502092
                                              Jim D. Hamilton
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                                              Email jhamilton@rossbanks.com
                                              Attorneys for Stellar Bank

                                CERTIFICATE OF SERVICE

       I certify that true copies of the foregoing instrument were served upon all parties who
have entered an appearance in this case by means of the Bankruptcy Court’s CM/ECF system
contemporaneously with filing on November 10, 2023.

                                          .
                                              John Mayer



Notice of Appearance
